69 F.3d 606
    314 U.S.App.D.C. 442
    Linda A. SMITH, Appellant/Cross-Appelleev.Mabel D. HADEN, Appellee/Cross-Appellant.
    Nos. 95-7014, 95-7033.
    United States Court of Appeals,
    District of Columbia Circuit.Nov. 21, 1995.
    
      On Appeal from the United States District Court for the District of Columbia.
      Before:  EDWARDS, Chief Judge;  HENDERSON and ROGERS, Circuit Judges.JUDGMENT
    
    
      1
      This case was heard on the record from the United States District Court for the District of Columbia and on the briefs and arguments by counsel.  Upon consideration thereof, it is
    
    
      2
      Ordered that the judgment from which this appeal has been taken be affirmed substantially for the reasons stated in the district court's memorandum opinion of December 23, 1994.  See Smith v. Haden, 872 F.Supp. 1040 (D.D.C.1994).  The cross-appeal is therefore moot.
    
    
      3
      The clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 41(a)(1).
    
    